Case 2:O4-cV-02794-SHI\/|-STA Document 23 Filed 07/11/05 Page‘i 0f3 Page|D _14

IN THE UNITED sTATEs DIsTRICT CoURT w B"' -L-‘£`/- D'°L'
FoR THE wEs'rERN DIsTRICT oF TENNESSEE -
wEsTERN DlvlsloN 05 JUL l l PH le 09
cARoLYN JoHNsoN, MM GOU.D
§ G.Es<, us newman
¢ . vHM - '¢F. '.ci r“i"-MS
Plalntlff, )
)
v. ) No. 04-2794 Ma/An
)
Jo ANNE B. BARNHART, )
Commissiooer of Social Security, )
)
Del'endant. )

 

ORDER GRANTING APPLICATION FOR ATTORNEY’S FEES

 

Before the Court is Plaintiff’s Motion for Award of Attorney’s Fees Pursuant to the Equal
Access Justice Act (“EAJA”) filed on June l, 2005. United States District Judge Samuel H.
Mays, Jr. referred this matter to the Magistrate Judge for determination For the reasons set forth
below, the Motion is GRANTED.

Under the EAJA, a court may award “reasonable” attorney’s fees and expenses to the
“prevailing party in any civil action brought by or against the United States or any agency or any
official of the United States . . . .” 28 U.S.C. § 2412(a) & (b). The amount of fees awarded
under the EAJA “shall be based upon prevailing market rates for the kind and quality of the
services furnished except that . . . attorney fees shall not be awarded in excess of $125 per hour
unless the court determines that an increase in the cost of living or a special factor, such as the
limited availability of qualified attorneys for the proceedings involved, justifies a higher fee.” 28

U.S.C. §2412(d)(2)(A). Fees under the EAJA are to be “adequate to attract competent counsel,

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but Which do not produce windfalls.” Coulrer v. State of T enn., 805 F.2d 146, 149 (6th Cir.
1986) (internal quotations omitted). Thus, the Sixth Circuit applies the “principle that hourly
rates for fee awards should not exceed the market rates necessary to encourage competent
lawyers to undertake the representation in question.” Coulter, 805 F.2d at 149. The prevailing
party has the burden of demonstrating the reasonableness of the requested rate. Blum v. Stenson,
465 U.S. 886, 896 n.ll (1984).

In this case, Plaintiff has requested the Court award Plaintiff attorney’s fees in the amount
of $2,100.00. Plaintiff’s attorney has based this amount on charging a rate of $125.00 per hour
for 16.8 hours of work. The Court concludes that Plaintiff’s request is reasonable Moreover, in
Response to the Motion, the Governrnent states that it “does not contest the award of attorney
fees” and that “Defendant respectfully requests that the Court enter an order awarding fees in the
amount of $2,100.00. Defendant further requests that the EAJA fees be paid directly to
Plaintiff’ s counsel.” Therefore, for good cause shown, the Motion is GRANTED. Plaintiff
should be awarded $2,100.00 in attorney’s fees.

IT IS SO ORDERED.

/ ..\

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 3 . 200.&"

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UNTED ssTTE DlsTRICT COURT - wEsTERN DTISICT OF TENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
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Honorable Samuel Mays
US DISTRICT COURT

